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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF SOUTH CAROLINA
                           GREENVILLE DIVISION


COUNTY OF GREENVILLE,
                                                   Case No.
                  Plaintiff,                       Action Filed: March 5, 2018
                                                   Action Served: March 21, 2018
      v.

RITE AID OF SOUTI I CAROLINA, INC.;
PURDUE PHARMA L.P.; PURDUE PI IARMA
INC.; THE PURDUE FREDERICK COMPANY,
INC.; TEVA PHARMACEUTICALS USA, INC.;
CEPHALON,INC.; JOHNSON & JOHNSON;
J ANSSEN PHARMACEUTICALS, INC.;
ORTHO-MCNEIL-JANSSEN
PlIARMACEUTICALS, INC. N/K/A JANSSEN
PHARMACEUTICALS, INC.; JANSSEN
PHARMACEUTICA,INC. N/K/A JANSSEN
PHARMACEUTICALS,INC.; ENDO HEALTH
SOLUTIONS INC.; ENDO
PHARMACEUTICALS INC.; ALLERGAN PLC
F/K/AACTAVIS PLC; ACTAVIS, INC. F/K/A
WATSON PI IARMACEUTICALS, INC.;
WATSON LABORATORIES, INC.; ACTAVIS,
LLC;ACTAVIS PHARIVIA, INC. F/K/A WATSON
PHARMA, INC.; INSYS THERAPEUTICS, INC.;
MCKESSON CORPORATION; CARDINAL
HEALTI I, INC.; AMERISOURCEBERGEN
CORPORATION; SMITH DRUG COMPANY;
WAL-MART STORES EAST, LP; WAL-MART
STORES, INC.; CVS PHARMACY, INC.; CVS
HEALTI I CORPORATION; WENDY KAY;
MICHAEL MADDEN; LEAVIS SULLIVAN;
J EFFERY WARD;AATHIRAYEN
THIYAGARAJAH; SPINE AND PAIN, LLC;
JOHN DOE 1; JOHN DOE 2; JOHN DOE 3;
JOHN DOE 4; CLINIC I ; CLINIC 2; CLINIC 3;
CLINIC 4; and CLINIC 5,

                  Defendants.

             DEFENDANTS ENDO HEALTH SOLUTIONS INC. AND
           ENDO PHARMACEUTICALS INC.'S NOTICE OF REMOVAL
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        Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, defendants Endo Health Solutions Inc. and

Endo Pharmaceuticals Inc. (collectively, "Endo") hereby give notice of removal of this action,

captioned Cl'ounty of Greenville v. Rite Aid ofSouth Carolina, Inc. et al., bearing case number

2018CP2301294,from the Court of Common Pleas, Thirteenth Judicial Circuit, in the County of

Greenville, South Carolina, to the United States District Court for the District of South Carolina.

Pursuant to 28 U.S.C. § 1446(a), Endo provides the following statement of the grounds for

removal:

                                         INTRODUCTION

        1.      This action is one of hundreds of related lawsuits filed against manufacturers of

FDA-approved prescription opioid medications on behalf of state and local governments relating

to alleged harms stemming from abuse of these medications. On December 5, 2017, the Judicial

Panel on Multidistrict Litigation ("JPML") created a Multidistrict Litigation ("N/DL") in the

Northern District of Ohio that would include this case and the many others like it, i.e., cases in

which "cities, counties and states . . . allege that . . . manufacturers of prescription opioid

medications overstated the benefits and downplayed the risks of the use of their opioids and

aggressively marketed . . . these drugs to physicians." In re Nat'l Prescription Opiate Litig.,

MDL No. 2804, Doc. 328 (Dec. 5, 2017 Transfer Order)(attached as Exhibit 1). Over 550

actions have been transferred to the MDL, with more (including this action) surely to follow. Id.,

Doc. 1202 (Apr. 16, 2018 CTO-24).

       2.       Like hundreds of actions in the MDL,the thrust of this lawsuit is that out-of-state

pharmaceutical manufacturers misrepresented the risks and benefits of FDA-approved

prescription opioid medications in marketing and promoting the medications. The only material

difference between these actions is the rotating cast of non-diverse defendants joined by each
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plaintiff in a transparent effort to thwart federal diversity jurisdiction. The plaintiff lawyers have

followed that familiar pattern here. Because all of the manufacturers are citizens of states or

foreign states other than South Carolina, plaintiff has tacked on a handful of South Carolina

citizens as defendants in an effort to destroy diversity. Specifically, Plaintiff purports to assert

claims against four low-level South Carolina-based employees of one manufacturer; two South

Carolina distributors of opioid products (which rest on alleged conduct having nothing to do with

promotion of opioid medications or misrepresentations regarding their risks); and one South

Carolina doctor (and his pain clinic) for prescribing opioid medications to consumers without any

legitimate medical purpose.

       3.      Federal jurisdiction cannot be so easily evaded. Under settled precedent from this

Circuit and other circuits, where (as here) a plaintiff sues diverse defendants and tacks on distinct

claims against one or more non-diverse defendants in an effort to destroy diversity, it is proper for

courts to ignore the citizenship of the non-diverse defendants, sever them, and retain diversity

jurisdiction over the diverse parties. Dozens of opioid-related actions naming similarly situated

non-diverse defendants have been removed to federal court on these grounds and transferred to the

MDL prior to resolution of any remand motion. Courts also may ignore the citizenship of

non-diverse defendants against whom the plaintiff has no intention of obtaining a joint judgment,

such as non-diverse individual employees of a large (and diverse) corporate defendant.

       4.      As discussed below, there is federal diversity jurisdiction here as to all of the

properly joined defendants. And judicial economy would be furthered if all removal questions

were addressed by the MDL court following the transfer of this case to the MDL. See County of

Floyd v. Purdue Pharma L.P. et al., No. 7:17-cv-00186-GFVT (C.D. Ky.), Doc. 18 (Jan. 22, 2018

Order Granting Stay); St. Bernard Parish Gov't v. Purdue Pharma L.P. et al., No.
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2:18-cv-02717-N1B-DEK (E.D. La.), Doc. 21 (Mar. 29, 2018 Order Granting Stay).

                                        BACKGROUND

       5.      On March 5, 2018, Plaintiff, the County of Greenville, riled a Complaint in the

Court of Common Pleas, Thirteenth Judicial Circuit, in the County of Greenville, South Carolina.

Plaintiff did not serve Endo with that Complaint. On March 15, 2018 Plaintiff filed a First

Amended Complaint("FAC")(attached hereto, with process papers served upon Endo, as Exhibit

2)against the following Defendants, as well as unnamed, unidentified Doe Defendants:

               a.     "Manufacturer Defendants''        Endo Pharmaceuticals Inc.; Endo Health

Solutions Inc.; Purdue Pharma L.P.; Purdue Pharma Inc.; The Purdue Frederick Company Inc.;

Teva Pharmaceuticals USA, Inc.; Cephalon, Inc.; Johnson & Johnson; Janssen Pharmaceuticals,

Inc.; Ortho-McNeil-Janssen Pharmaceuticals, Inc. n/k/a Janssen Pharmaceuticals, Inc.; Janssen

Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals, Inc.; Allergan plc f/k/a Actavis plc; Allergan

Finance, LLC f/k/a Actavis, Inc. f/k/a Watson Pharmaceuticals, Inc.; Watson Laboratories, Inc.;

Actavis LLC; Actavis Pharma, Inc. f/k/a Watson Pharma, Inc.; and Insys Therapeutics, Inc.

               b.     "Employee Defendants" — Wendy Kay; Michael Madden; LeAvis

Sullivan; and Jeffery Ward.

               c.     "Distributor Defendants'.       McKesson Corporation; Cardinal Health, Inc.;

A merisourceBergen Corporation;1 Wal-Mart Stores East, LP; Wal-Mart Stores, Inc.; CVS

Pharmacy, Inc.; CVS Health Corporation; Rite Aid of South Carolina, Inc.; and Smith Drug

Company.

  On the face page of the LAC, the entity Plaintiff has named is AmerisourceBergen Corporation.
However, when pleading the parties' citizenship, Plaintiff refers to AmerisourceBergen Drug
Corporation. (FAC 83.) It is thus unclear which entity Plaintiff is suing. Defendant
A merisourceBergen Corporation does not concede that it is a proper party to this litigation, and it
is not.




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                d.      "Dealer Defendants"      Aathirayen Thiyagarajah and Spine and Pain, EEC.

        6.      The thrust of this action—like hundreds of others in the -MDL—is that the

 Manufacturer Defendants engaged in a marketing and promotional campaign that misrepresented

the risks and benefits of FDA-approved prescription opioid medications. (FAC 1 11-17, 43-72,

 1 18-284.) Plaintiff alleges that the Manufacturer Defendants "sought to create a false perception

of the safety and efficacy of opioids"        I I ); "accomplished that false perception through a

coordinated, sophisticated, and highly deceptive marketing campaign"(id. 111- 12);"claimed that the

 potential for addiction from [their] drugs was relatively small or non-existent" (id. ¶ 199); and

"manipulated their promotional materials and the scientific literature to make it appear [that] these

items were accurate, truthful, and supported by substantial scientific evidence"(id. ¶ 282). All of

the Manufacturer Defendants are citizens of states or foreign states other than South Carolina.

        7.      In addition to asserting claims against the Manufacturer Defendants, Plaintiff

asserts claims against four low-level, South Carolina-based employees of one manufacturer (the

Employee Defendants) for their alleged role in that manufacturer's marketing of opioid

medications. (Id.      89-92, 397-418.)

        8.      PlaintifFs allegations against the Distributor Defendants are entirely different.

U nlike the claims against the Manufacturer Defendants, PlaintifFs claims against the Distributor

Defendants have nothing to do with promotion of opioid products or misrepresentations regarding

their risks. Rather. Plaintiff alleges that the Distributor Defendants "fail[ed] to report suspicious

orders [of opioid products] or prevent the flow of prescription opioids . . . into Greenville County."

(Id. '1334; see generally id. ill 285-345.) Two Distributor Defendants (Rite Aid of South

Carolina, Inc. and Smith Drug Company) are citizens of South Carolina. (Id. ¶¶ 77, 86.) The

remaining Distributor Defendants are citizens of states other than South Carolina. (Id. '11 73, 75,




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 79-83.)

        9.        Plaintiff also purports to assert claims against the Dealer Defendants—a South

 Carolina-based doctor and his pain clinic—accusing them of criminal drug dealing by prescribing

 opioid medications to consumers without any legitimate medical purpose. (Id. 11( 93-94.)

 Plaintiff describes the Dealer Defendants as "drug dealers in white coats." (Id. ¶ 386.)

           1 0.   The Complaint asserts eight causes of action against "all Defendants," though the

 conduct underlying each claim relates almost exclusively to alleged conduct by the Manufacturer

 Defendants only, on the one hand, or the Distributor Defendants and Dealer Defendants only, on

 the other: (1) deceptive and unfair acts and practices;(2)fraud;(3) unjust enrichment;(4)

 negligence;(5) negligent misrepresentation;(6) public nuisance;(7) constructive fraud; and (8)

 negligence per se. (Id. 11419-495.)

           1 1.   Endo received the FAC through service on March 21, 2018. Pursuant to 28 U.S.C.

§ 1446(a), a copy of all process, pleadings, and orders served on Endo is attached hereto as

Exhibit 2. A copy of the state court docket and all doctiments filed in the state court action (other

than the FAC) is attached hereto as Exhibit 3.

                                  VENUE AND JURISDICTION

           1 2.   Venue is proper in this Court pursuant to 28 U.S.C. §§ 121(6), 1391 1441(a), and

 1446(a) because the Court of Common Pleas, Thirteenth Judicial Circuit, in the County of

 Greenville, South Carolina, where this action was filed, is a state court within the District of South

 Carolina.

           1 3.   This Court has subject matter jurisdiction under 28 U.S.C. § 1332(a) because

(1) there is complete diversity of citizenship between Plaintiff and all properly joined Defendants;

(2)the amount in controversy exceeds $75,000, exclusive of interests and costs; and (3) all other




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requirements for removal have been satisfied.

I.      THERE IS COMPLETE DIVERSITY OF CITIZENSHIP BETWEEN PLAINTIFF
        AND THE MANUFACTURER DEFENDANTS

        1 4.   There is complete diversity of citizenship here because Plaintiff is a South Carolina

citizen and all of the Manufacturer Defendants are citizens of states or foreign states other than

South Carolina, see Part l.A infra; the citizenship of unnamed. unidentified Doe Defendants is

ignored for purposes of diversity jurisdiction, see Part I.B infra; and the citizenship of the

Employee Defendants, the Distributor Defendants (two of which are non-diverse), and the Dealer

Defendants should be ignored for purposes of diversity jurisdiction, see Part I.0 infra. This is

because the Employee Defendants are fraudulently joined, and the Distributor Defendants and

Dealer Defendants are severable under Federal Rule of Civil Procedure 21 and are fraudulently

misjoined.

        A.     Plaintiff Is Diverse from the Manufacturer Defendants

               I. Plaintiff Is a Citizen of South Carolina

        1 5.   The County of Greenville is a South Carolina citizen for purposes of diversity

jurisdiction. See Moor v. Alameda Ciy., 411 U.S. 693, 721 (1973)(holding that Alameda County

is a California citizen for purposes of diversity jurisdiction).

               2. None of the Manufacturer Defendants Is a Citizen of South Carolina

        1 6.   For purposes of diversity jurisdiction, a corporation is a citizen of every State and

foreign state by which it has been incorporated and of the State or foreign state where it has its

principal place of business." 28 U.S.C. § I332(c)(1). A partnership is a citizen of every state in

which its partners are citizens. See Americold Realty Tr. v. Conagra Foods, Inc., 136 S. Ct. 1012,

1015 (2016); Gen. Tech. Applications, Inc. v. Exro Lida, 388 F.3d 1 14, 121 (4th Cir. 2004). A

limited liability company is a citizen of every state in which its members are citizens. Gen. Tech.



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Applications, Inc., 388 F.3d at 121.

        1 7.   Applying these principles, none of the Manufacturer Defendants is a citizen of

South Carolina.

        1 8.   Defendant Endo Health Solutions Inc. is a corporation organized under the laws of

Delaware with its principal place of business in Malvern, Pennsylvania. (FAC 1160.)

        I 9.   Defendant Endo Pharmaceuticals Inc. is a corporation organized under the laws of

Delaware with its principal place of business in Malvern, Pennsylvania. (Id. 61.)

       20.     Defendant Purdue Pharma L.P. is a limited partnership organized under the laws of

Delaware, none of whose partners are citizens of South Carolina. (Sec id. ¶ 43.) its 'partners are

Purdue Pharma Inc., a citizen of New York and Connecticut, and Purdue Holdings L.P. Purdue

Holdings L.P.'s partners are Purdue Pharma Inc., a citizen of New York and Connecticut; PLP

Associates Holdings Inc., a citizen of New York and Connecticut; and PLP Associates Holdings

L.P. PLP Associates I loldings L.P.'s partners are PLP Associates Holdings Inc., a citizen ofNew

York and Connecticut; and BR Holdings Associates L.P. BR holdings Associates L.P.'s partners

are BR Holdings Associates Inc., a citizen of New York and Connecticut: Beacon Company; and

Rosebay Medical Company L.P. Beacon Company's partners are Stanhope Gate Corp., a citizen

of the British Virgin Islands and Jersey, Channel Islands; and Heatheridge Trust Company

Limited, a citizen of Jersey, Channel Islands. Rosebay Medical Company L.P.'s partners are

Rosebay Medical Company, Inc., a citizen of Delaware and Connecticut; R. Sackler, a citizen of

Texas; and J. „Sadder, a citizen of Connecticut.

       21.     Defendant Purdue Pharma Inc. is a corporation organized under the laws of New

York with its principal place of business in Stamford, Connecticut. (Id. ¶ 44.)

       22.     Defendant The Purdue Frederick Company Inc. is a corporation organized under




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the laws of New York with its principal place of business in Stamford, Connecticut. (Id. ¶ 45.)

       23.     Defendant Teva Pharmaceuticals USA, Inc. is a corporation organized under the

laws of Delaware with its principal place of business in North Wales, Pennsylvania. (M. ¶ 48.)

       24.     Defendant Cephalon, Inc is a corporation organized under the laws of Delaware

with its principal place of business in North Wales, Pennsylvania. (M. ¶ 49.)

       25.     Defendant Johnson & Johnson is a corporation organized under the laws of New

Jersey with its principal place of business in New Brunswick, New Jersey. (Id. ¶ 52.)

       26.     Defendant Janssen Pharmaceuticals, Inc. is a corporation organized under the laws

of Pennsylvania with its principal place of business in Titusville, New Jersey. (Id.   53.)

       27.     Defendant Ortho-McNeil-Janssen Pharmaceuticals, Inc. n/Ida Janssen

Pharmaceuticals, Inc. is a corporation organized under the laws of Pennsylvania with its principal

place of business in Titusville, New Jersey. (Id. ¶ 55.)

       28.     Defendant Janssen Pharmaceutica, Inc. n/Ida Janssen Pharmaceuticals, Inc. is a

corporation organized under the laws of Pennsylvania with its principal place of business in

Titusville, New Jersey. (Id. ¶ 56.)

       29.     Defendant Allergan plc is a public limited company incorporated in Ireland with its

principal place of business in Dublin, Ireland. (Id. ¶ 64.)

       30.     Defendant Allergan Finance, LLC f/k/a Actavis, Inc. f/k/a Watson

Pharmaceuticals, Inc. is a Nevada limited liability company. Its sole member is Allergan W.C.

Holding Inc. f/k/a Actavis W.C. Holding Inc., a Delaware corporation with its principal place of

business in Parsippany, New Jersey.

       31.     Defendant Watson Laboratories, Inc. is a Nevada corporation with its principal

place of business in Parsippany, New Jersey.




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        32.       Defendant Actavis Pharma, Inc. 17k/a Watson Pharma, Inc. is a Delaware

corporation with its principal place of business in Parsippany, New Jersey. (Id. ¶ 67.)

        33.       Defendant Actavis LLC is a Delaware limited liability company with its principal

 place of business in Parsippany, New Jersey. (id. 1168.) Actavis LLC's sole member is Actavis

US I lolding LLC, a limited liability company organized under the laws of Delaware. Actavis US

Holding LLC's sole member is Watson Laboratories, Inc., a Nevada corporation with its principal

place of business in Parsippany, New Jersey.

        34.       Defendant lnsys Therapeutics, Inc. is a corporation organized under the laws of

Delaware with its principal place of business in Chandler, Arizona. (Id. ¶ 71.)

        35.       Accordingly, all of the Manufacturer Defendants are citizens of a state or foreign

state other than South Carolina.

        B.        The Citizenship of Doe Defendants Should Be Ignored

        36.       The citizenship of the unnamed, unidentified Doe Defendants should be ignored for

purposes of determining whether this action is removable based on diversity of citizenship. See

28 U.S.C. § 1441(b)(1)("In determining whether a civil action is removable on the basis of

[diversity jurisdiction], the citizenship of defendants sued under fictitious names shall be

disregarded.").

        C.      The Citizenship of the Employee Defendants, Distributor Defendants, and
                Dealer Defendants Should Be Ignored

                1.       The Employee Defendants Are Fraudulently Joined

        37.     Even where the face of a complaint shows a lack of complete diversity, removal

based on diversity jurisdiction is nonetheless proper where the non-diverse defendants are

fraudulently joined. "The doctrine of fraudulent joinder permits a federal court to disregard, for

jurisdictional purposes, the citizenship of non-diverse defendants." McFadden      V.   Fed. Na!'I



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Alorig. Ass'n, 525 F. App'x 223, 227 (4th Cir. 2013)(internal quotation marks omitted). As

courts within this Circuit have held, a non-diverse defendant is fraudulently joined where the

plaintiff"has no real intention of getting] a joint judgment" against that defendant    for instance,

a low-level employee of a large, diverse company also named as a defendant in the case.     Linnin v.


Michielsens, 372 F. Supp. 2d 811, 825(E.D. Va. 2005)(internal quotation marks omitted). Stated

differently, "a removing defendant may defeat remand by showing that the plaintiffs cannot

succeed against the resident defendant, or by showing that the plaintiffs never intended to."

Barlow v. John Crane-Hondaille, Inc., No. WDQ- I 2- I 780, 2015 WL 11070882, at *8(D. Md.

Oct. 8, 2015)(emphasis added)(footnote omitted).

        38.    Numerous courts within this Circuit and other circuits have applied this rationale to

hold that non-diverse employees of diverse corporate defendants are fraudulently joined. For

instance, in Linnin, the district court held that a non-diverse employee of a large corporate

defendant was fraudulently joined in part because the plaintiff"ha[d] no intention of getting a joint

judgment against [the employee] and [the corporation]." 372 F. Supp. 2d at 823. The individual

employee, a mechanic, was named as a co-defendant in a negligence lawsuit against his employer,

Hertz Corporation, related to the death of the plaintiff's spouse in an accident involving an aerial

lift owned and rented out by Hertz. Id. at 813-14. Because "[j]uries are loath to saddle a lowly

employee with a joint and several judgment" against a large corporation, the court explained,

"[a]ny experienced trial lawyer . . . who actually desires a judgment against a target defendant

would never seek a joint judgment against a target defendant and . . . lowly employee[s] for fear

that the judgment amount would be reduced or negated out of sympathy for the employee[s].'' Id.

at 824. As many courts have recognized,"[given the relative financial positions of most

companies versus their employees, the only time an employee is going to be sued is when it serves




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a tactical legal purpose, like defeating diversity." Id. (quoting Ayoub v. Baggett, 820 F. Supp.

298, 300(S.D. Tex. 1993)); see Jones v. Target Store Inc., No. 3:09-cv-81, 2009 WL 1209034, at

*3(E.D. Va. May 1, 2009)("Adding Anderson as a defendant, when it is uncontroverted that he is

an employee of the Target store where the incident occurred, does nothing for Plaintiff but defeat

diversity."); Orr v. De'baize AM. Inc., No. 2:09CV527, 2010 WL 1 1566037, at *3 n.5 (F.D. Va.

Feb. 19, 2010)(explaining that "the intent [to obtain a joint judgment] analysis . . . suggests an

alternate basis for finding" fraudulent joinder where the plaintiff "seeks to recover two million

dollars from a large company that owns and operates supermarkets in numerous states and an

assistant customer service manager"). Because the plaintiff had "nothing to gain from joining

[the employee] except for defeating diversity," the court in Linnin rejected this "procedural

gamesmanship" and found the employee fraudulently joined. 372 F. Supp. 2d at 824-25.

        39.     Likewise here, Plaintiff"has no real intention of get[ting] a joint judgment" against

the Employee Defendants, who are low-level sales representatives of one Manufacturer

Defendant. Id. at 825 (internal quotation marks omitted). In this action, Plaintiff seeks to

recover "millions of dollars" that it purportedly has lost as a result of a decades-long, nationwide

"deceptive marketing campaign" allegedly undertaken by major manufacturers of opioid

medications(FAC ¶ 34), as well as punitive damages and attorneys' tees (id. Prayer for Reliefll

i ii-iv). Against this backdrop, it simply is not plausible that Plaintiff also intends to saddle the

Employee Defendants four low-level, South Carolina-based employees of one Manufacturer

Defendant—"jointly and severally" with these massive sums, as the Complaint claims. (M.

Prayer for Relief.) Plainly, in the context of a lawsuit against major pharmaceutical

manufacturers, Plaintiff does not intend to obtain a multi-million dollar judgment against both

those manufacturers and four low-level employees from whom it will never collect. Plaintiff




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instead will look to their employer (the Manufacturer Defendant) to "be responsible for any

damages under the doctrine of respondeat superior." Linnin, 372 F. Supp. 2d at 823.

       40.     As in Linnin, therefore, Plaintiff"has nothing to gain from joining [the Employee

Defendants] except for defeating diversity." Id. at 824. Notably, the FAC includes several

paragraphs alleging wrongdoing by senior executives (including the former CEO)of one

Manufacturer Defendant (e.g., FAC 11[266-271), yet none of those executives is named a

defendant in this case, likely because they are citizens of states other than South Carolina and thus

pose no obstacle to federal jurisdiction. Plaintiff has instead named low-level employees as

defendants simply because they are South Carolina citizens. Because Plaintiff has named the

Employee Defendants for the sole purpose of thwarting federal jurisdiction and has no intention of

obtaining a joint judgment against them, the Employee Defendants are fraudulently joined.2

               2.      The Distributor Defendants and Dealer Defendants Should Be Severed
                       Under Rule 21

       41 .    Separate and apart from the fraudulent joinder doctrine discussed above, even

where the face of a complaint shows a lack of complete diversity, removal based on diversity

jurisdiction is nonetheless proper if the claims against the non-diverse defendants are severable

under Federal Rule of Civil Procedure 21. Defendants are severable under Rule 21 if they are

either unnecessary or dispensable under Rule 19, or if the claims against them are sufficiently

distinct from claims against other defendants under Rule 20. Here, the Distributor Defendants


2 In Brooke County Commission et al. v. Purdue Pharma L.P. ci al., No. 5:18-cv-00009(N.D. W.
Va.), Doc. 23 (Feb. 23, 2018 Order), a West Virginia district court concluded in an opioid-related
action that non-diverse sales representatives of a manufacturer had not been fraudulently joined.
The Brooke court reached that decision because it concluded that the sales representatives, as
alleged agents of a manufacturer, were not "insulated against personal liability . . . under West
Virginia law." Id. at I 1 . The Brooke court did not analyze, and was not presented with, the
fraudulent joinder argument made here that the Employee Defendants are fraudulently joined
because Plaintiff has no intention of obtaining a joint judgment against them.



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and Dealer Defendants should be severed on both grounds, each of which preserves diversity

jurisdiction as to the Manufacturer Defendants.

       42.      It is settled law in the Fourth Circuit that "non-diverse parties whose presence is not

essential under Rule 19 may be dropped to achieve diversity between the plaintiffs and the

defendants." Caperton v. Beatrice Pocahontas Coal Co., 585 F.2d 683, 691 (4th Cir. 1978); see

Koehler v. .Dodwell, 152 F.3d 304, 308 (4th Cir. 1998)("[A] party . . . whose presence deprives the

court ofjurisdiction may be dropped or severed from the action."). As the United States Supreme

Court has held, "it is well settled that Rule 21 invests district courts with authority to allow a

dispensable nondiverse party to be dropped at any time, even after judgment has been rendered."

Newman-Green, Inc. v. Allonzo-LOITaill, 490 U.S. 826, 832(1989); see Grupo Dataflux v. Adds

Global Grp., L.P., 541 U.S. 567, 572-73 (2004).

       43.      Sullivan v. Calvert Memorial Hospital, 117 F. Stipp. 3d 702(D. Md. 2015), is

particularly instructive. There, a Maryland citizen filed suit in state court for injuries arising from

the implant of a medical device. kJ. at 703. The plaintiff asserted claims against the out-of-state

manufacturer of the medical device, as well as non-diverse healthcare providers who performed

her surgery. M. at 703-04. Notwithstanding a lack of complete diversity on the face of the

complaint, the manufacturer removed the case to federal court, arguing the court should preserve

diversity jurisdiction by severing the non-diverse healthcare providers as unnecessary and

dispensable parties under Rule 19. Id at 704. The court agreed. Id. at 707.

       44.      Even though the claims against the manufacturer and the healthcare providers

"involve[d] the same physical object," the court held that severance was appropriate because the

claims against the two sets of defendants involved "distinctly different" "legal standards and

factual inquiries." Id. at 706. As the court explained, "[t]he [healthcare providers] are not




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 necessary parties to [plaintiff's] claims against the [diverse manufacturer] because the resolution

of her claims against the [healthcare providers] would not necessarily resolve her claims against

the [manufacturer]." Id. at 707. "[Plaintiff's] medical negligence claims against the [healthcare

 providers] hinge on whether they deviated from the standard of care of healthcare professionals

    . Her products liability claims against the [manufacturer] turn on whether [it] . . . improperly

designed, manufactured, tested, advertised, and gave directions regarding use of the [medical

device]. These standards of care and the deviation from same are different and distinct from one

another." Id.

        45.     The court further explained that there was "a critical policy reason" to sever the

 non-diverse defendants    namely, it would allow the claims against the diverse manufacturer to be

transferred to an MDL. Id. "Whatever inconvenience [plaintiffl might suffer from her having to

 litigate her claims in two separate forums, that inconvenience is far exceeded by the prejudice of

requiring the manufacturer . . . to defend on many more than just two fronts. Forcing the

[manufacturer] to litigate [these] claims in state courts throughout the country whenever and

 wherever the claims might be joined to claims against healthcare providers that installed the device

 would defeat the entire purpose of the MDL." Id. (internal quotation marks and citation omitted).

Accordingly, the court severed the non-diverse defendants and denied remand as to the diverse

 manufacturer. Id.

        46.     Numerous decisions of district courts in this Circuit and other circuits are in accord

 with Sullivan. E.g., Cooke-Bates v. Bauer Corp., No. 3:10-cv-261, 2010 WL 3984830, at *4

(E.D. Va. Oct. 8, 2010); Joseph v. Baxter Intl,Inc., 614 F. Stipp. 2d 868, 872-74(N.D. Ohio

2009); Mayfield v. London Women's Care, PLLC, No. 15-19-DLB, 2015 WL 3440492, at *5 (F.D.

Ky. May 28.2015); DeGidio v. Centocor, Inc., No. 3:09CV721, 2009 WL 1867676, at *3-4(N.D.




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Ohio July 8, 2009); McElroy v. Hamilton Cly. Bd. ofEdw.., No. 1:12-cv-297, 2012 WL 12871469,

at *2-3 (E.D. Tenn. Dec. 20, 2012).

       47.     Likewise, here, this Court should sever the Distributor Defendants and Dealer

Defendants under Rule 21 and deny remand as to the Manufacturer Defendants because the

Distributor Defendants and Dealer Defendants are unnecessary and dispensable under Rule 19.

Alleged joint tortfeasors like the Distributor Defendants and Dealer Defendants are unnecessary

parties as a matter of settled law. See Temple v. Synthes Corp., 498 U.S 5, 7-8 (1990)(holding

that joint tortfeasors are not necessary parties under Rule 19); Linnin, 372 F. Supp. 2d at 826("[Al

non-diverse defendant who is a jointly and severally liable tort-feasor is not an indispensable party

to a diversity action under Rule 19 and may be dismissed by the court in order for it to retain

jurisdiction." (internal quotation marks omitted)).

       48.     Moreover,just like Sullivan (and many other cases), in which the plaintiff's claims

against the diverse and non-diverse defendants were materially distinct, here Plaintiffs claims

against the Manufacturer Defendants are materially distinct from the claims against the Distributor

Defendants and Dealer Defendants. Specifically, Plaintiff alleges that the Manufacturer

Defendants misrepresented the risks and benefits of FDA-approved prescription opioid

medications in marketing and promoting the medications. By contrast, Plaintiff alleges that the

Distributor Defendants failed to report suspicious opioid orders, and that the Dealer Defendants

criminally prescribed opioid medications to consumers without any legitimate medical purpose.

There is no material overlap between the factual allegations against the Manufacturer Defendants,

on the one hand, and the Distributor Defendants or Dealer Defendants, on the other, that would

make the Distributor Defendants or Dealer Defendants necessary or indispensable parties under

Rule 19. See, e.g., Sullivan, 1 17 F. Supp. 3d at 707; Baxter, 614 F. Supp. 2d at 872.




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        49.     Beyond Rule 19, the claims against the Distributor Defendants and Dealer

Defendants are also misjoined under Rule 20, which provides a distinct basis for severance. Rule

21 permits severance of claims against non-diverse defendants that do not "aris[e] out of the same

transaction, occurrence, or series of transactions or occurrences" as the claims against other

defendants. Fed. R. Civ. P. 20(a)(1)(A); see Loc.*then? v. Milberg Weiss I3ershad Hynes &

Lerach, LLP, No. Civ.A. 02-2435-CM,2003'WL 21313957, at *5 (D. Kan. May 23, 2003)("Rule

21 is a mechanism for correcting . . . the misjoinder . . . of parties or claims" which "arises when

the claims and parties fail to satisfy any of the conditions of permissive joinder under Rule

20(a)."). This Court and others have repeatedly denied remand as to diverse defendants and

severed claims against non-diverse defendants where the claims against the non-diverse

defendants were separate and distinct, and arose from different transactions or occurrences. See,

e.g., Todd v. Cary's Lake Homeowners Ass 'n, 315 F.R.D. 453, 458 (D.S.C. 2016)("[J]oinder of

[p]laintiff s claims against all Defendants was not proper since Fed. R. Civ. P. 20 does not

contemplate joinder of the separate legal and factual inquiries of[p]laintiff's claims.").3 Because

of the distinct material allegations underpinning the claims against the Manufacturer Defendants,

on the one hand, and the Distributor Defendants and Dealer Defendants, on the other, these claims

cannot properly be joined together.

        50.    Severance is particularly appropriate here because it will enable the diverse parties

to benefit from the significant efficiencies stemming from participation in coordinated MDL,

proceedings in the Northern District of Ohio. See Exhibit 1 . Courts across the

3 Accord Anderson    v. Slate Farm MM. Auto. Ins. Co., No. 4:08CV345-RH/WCS, 2008 WE
1 1366408, at *3(N.D. Fla. Nov. 10, 2008); IVestley v. Progressive Specialty Ins. Co., No.
14-1410, 2014 WL 4489620, at *6-7 (F.D. La. Sept. 10, 2014); Loeffelbein, 2003 WL 21313957,
at *6; Sutton v. Davol, Inc., 251 F.R.D. 500, 503-05 (E.D. Cal. 2008); Greene v. Wyeth, 344 F.
Supp. 2d 674, 683-84(D. Nev. 2004); DirecTV, Inc. v. Beecher, 296 F. Stipp. 2d 937, 945 (S.D.
Ind. 2003); Randleel v. Pizza Hut ofAm., Inc., 182 F.R.D. 542, 545 (N.D. III. 1998).



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country—including courts within this Circuit      have repeatedly recognized the importance of

these efficiencies in severing non-diverse defendants to perfect diversity jurisdiction. E.g.,

Sullivan, 117 F. Stipp. 3d at 707; Sutton, 251 F.R.D. at 505; Baxter, 614 F. Stipp. 2d at 873;

Mayfield, 2015 WL 3440492, at *5.

       5 1.    As one district court within this Circuit explained in materially identical

circumstances, "[t]he Court's decision to sever . . . [the non-diverse healthcare provider] will not

greatly prejudice [plaintiff], but failure to do so could subject [the diverse manufacturer] to

considerable prejudice. [Plaintiff] will be forced to pursue two separate suits, but it will not alone

bear the administrative and financial burdens of pursuing its claim against [the manufacturer] in

the MDL proceedings. For its part, [the manufacturer] could be exposed to numerous related

suits if courts considering suits similar to this one refused to sever claims against [the

manufacturer] from those against the providers that prescribed [the drug]." Cooke-Bales, 2010

WL 3984830, at *4 (citation omitted). Indeed,"Worcing [diverse manufacturers] to litigate

[these] claims in state courts throughout the country whenever and wherever the claims might be

joined to claims against healthcare providers . . . would defeat the entire purpose of the MDL."

Sullivan, 1 17 F. Supp. 3d at 707.

        52.     That Plaintiff asserts causes of action against "all Defendants" changes nothing.

Severance is appropriate because thefactual basis for Plaintiff's claims against the Manufacturer

Defendants, on the one hand, and the Distributor Defendants and Dealer Defendants, on the other,

is materially distinct. See, e.g., Smith v. Hendricks, 140 F. Stipp. 3d 66, 75 (D.D.C. 2015)(claims

m isjoined, even though plaintiff pleaded the same cause of action against non-diverse and diverse

defendants, because plaintiff's interactions with the non-diverse and diverse defendants were

"wholly distinct"); Loeffelbein, 2003 WL 21313957, at *6 ("While plaintiffs do not distinguish




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between each of the defendants in the individual counts of the petition, the counts clearly arise

from two different sets of facts."); Nelson v. Ann Advisors, Inc., No. 01-CV-0282-MJR, 2002 WL

442189, at *3 (S.D. Ill. Mar. 8, 2002)("Although Plaintiffs' claims against all Defendants are pled

under the same legal theory, it is only in this abstract sense that Plaintiffs' claims share anything in

common . . . [and] does not mean that there are common issues of law and fact sufficient to satisfy

Rule 20(a)."). If Plaintiff wants to pursue claims against the Distributor Defendants or Dealer

Defendants, Plaintiff has an "adequate remedy . . . in state court." Baxter, 614 F. Supp. 2d at 873.

       53.      While Plaintiff alleges that one Dealer Defendant received money from one

Manufacturer Defendant, supposedly as a "kickback[]"(FAC ¶ 387), this is too thin a reed on

which to establish proper joinder. The core allegations purportedly giving rise to liability are

separate and distinct. The alleged liability of the Dealer Defendants for criminally prescribing

opioid medications to consumers without any legitimate medical purpose is not dependent upon or

i ntertwined with the alleged liability of the Manufacturer Defendants, and resolution of the

materially distinct claims against the Dealer Defendants plainly would not resolve the claims

against the Manufacturer Defendants. See, e.g., Sullivan, 117 F. Supp. 3d at 707; Baxter, 614 F.

Supp. 2d at 872. Moreover, any alleged tangential connection between these disparate claims

cannot overcome the efficiencies to be gained from participation in the MDL. See, e.g., Sullivan,

1 17 F. Supp. 3d at 707; Cooke-Bates, 2010 WL 3984830, at *4.

               3.      The Distributor Defendants and Dealer Defendants Are Also
                       Fraudulently Illisjoined

       54.     As an alternative to severance under Rule 21, the citizenship of the Distributor

Defendants and Dealer Defendants should be ignored for purposes of diversity jurisdiction under

the fraudulent misjoinder doctrine (which is separate from the fraudulent joinder doctrine

discussed above). As district courts within this Circuit have explained, fraudulent misjoinder,



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also called procedural misjoinder, "is an assertion that claims against certain defendants . . . have

 no real connection to the claims against other defendants in the same action and were only

 included in order to defeat diversity jurisdiction and removal." Ciy. Comm         ofMcDowell Cty. v.

McKesson Corp., 263 F. Supp. 3d 639,644(S.D. W. Va. 2017)(internal quotation marks omitted);

see also Tap,scott v. A/S Dealer Serv. Corp., 77 F.3d 1353, 1360 (1 1th Cir. 1996)("A defendant's

`right of removal cannot be defeated by a fraudulent joinder of a resident defendant havirw, no real

connection with the controversy.'"(quoting Wilson       V. .Republic   Iron & Steel Co., 257 U.S. 92, 97

(1921)), abrogated on another ground by Cohen v. Office Depot, Inc., 204 F.3d 1069 (11th Cir.

2000)).

        55.     While the Fourth Circuit has neither accepted nor rejected the fraudulent

 misjoinder doctrine, the "weight of authority" from district courts in this Circuit "accepts the

doctrine." McKesson Corp., 263 F. Supp. 3d at 645. This Court has adopted the doctrine. In re

LiOor (Atorvastatin Calcium) Mktg., Sales Practices & Prods. Liab. Litig., No. 2:14-cv-02253,

2016 WI,7339811, at *3 (D.S.C. Oct. 24, 2016)("This Court agrees with the Eleventh Circuit and

the majority of district courts in this circuit and adopts the fraudulent misjoinder doctrine.").

        56.     In opioid-related cases like this one, federal district courts in this Circuit recently

relied on the fraudulent misjoinder doctrine to ignore the citizenship of non-diverse defendants and

deny remand based on diversity jurisdiction. See McKesson Corp., 263 F. Supp. 3d at 647; City of

Huntington v. AmerisourceBergen Drug Corp., Civ. A. No. 3:17-01362, 2017 WL 3317300, at

*4-5 (S.D. W. Va. Aug. 3, 2017). But see Brooke Co). Comm 'n et al. v. Purdue Pharma L.P. et

al., No. 5:18-cv-00009 (N.D. W. Va.), Doc. 23 (Feb. 23, 2018 Order). In McKesson Corp., the

plaintiff filed suit in state court against diverse distributors of opioid products for allegedly

"flood[ing] McDowell County with opioids well beyond what was necessary to address pain and




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other [legitimate] reasons," and also against a non-diverse doctor for allegedly "provid[ing]

written opioid prescriptions for patients, knowing that the drugs were likely to be abused, diverted

or misused." 263 F. Stipp. 3d at 642. Denying plaintiff's remand motion, the court held that

"plaintiffs claims against the [distributors] and the claims against [the doctor]" lacked "common

questions of law or fact" and were "separate and distinct" and did not defeat diversity. Id. at 647.

I n City of Huntington, the court reached the same conclusion for substantially the same reasons.

2017 WL 3317300, at *5 (claims against diverse and non-diverse defendants were "separate and

distinct").

         57.   Even ifthe Court finds that the Distributor Defendants or Dealer Defendants are not

subject to severance under Rule 21, it should find the claims against them to be fraudulently

misjoined.

         58.   In sum, because Plaintiff is a South Carolina citizen, and because none of the

properly joined Defendants is a South Carolina citizen, there is complete diversity of citizenship.

See 28 U.S.C. § 1332(a).

II.      THE AMOUNT IN CONTROVERSY EXCEEDS $75,000

         59.   "[A] defendant's notice of removal need include only a plausible allegation that the

amount in controversy exceeds the jurisdictional threshold." Dart Cherokee Basin Operating

Co LLC v. Owens, 135 S. Ct. 547, 554 (2014). "[W]hen a defendant seeks federal-court

adjudication, the defendant's amount-in-controversy allegation should be accepted when not

contested by the plaintiff or questioned by the court." Id. at 553.

         60.   Here, Plaintiff asserts that it has lost "millions of dollars" "[a]s a direct and

foreseeable consequence of[Manufacturer] Defendants' wrongful conduct." (FAC ¶ 34.)

Plaintiff seeks "[c]ompensatory damages in an amount sufficient to .. completely compensate




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Plaintiff for all damages" as well as treble damages and punitive damages. (Id. Prayer for Relief

111   i-ii, iv.) It is thus clear that the alleged amount in controversy exceeds $75,000, exclusive of

i nterest and costs.

III.      ALL OTHER REMOVAL REQUIREMENTS ARE SATISFIED

          A.      This Notice of Removal Is Timely

          61 .    This Notice of Removal is timely tiled. Endo received the FAC through service

on March 21, 2018. Because Endo filed the Notice of Removal on April 20, 2018, removal is

timely. See 28 U.S.C. § 1446(b)(1).

          13.     All Properly Joined And Served Defendants Consent to Removal

          62.     For purposes of removal based on diversity jurisdiction under 28 U.S.C. § 1332(a)

and pursuant to 28 U.S.C. § 1446(b), all defendants who have been properly joined and served

m ust consent to removal.

          63.     The following properly served Defendants consent to removal, as indicated by their

signing below: Purdue Pharma L.P.; Purdue Pharma Inc.; The Purdue Frederick Company Inc.;

Teva Pharmaceuticals USA, Inc.; Cephalon, Inc.; .Johnson & Johnson; Janssen Pharmaceuticals,

I nc.; Ortho-McNeil-Janssen Pharmaceuticals. Inc. n/k/a Janssen Pharmaceuticals, Inc.; Janssen

Pharmaceutica. Inc. n/k/a Janssen Pharmaceuticals, Inc.; Watson Laboratories, Inc.; Actavis LLC;

Actavis Pharma. Inc. f/k/a Watson Pharma, Inc.; and Insys Therapeutics, Inc.

          64.     The following Defendants have not been properly served, and thus their consent to

removal is not required: Allergan plc f/k/a Actavis plc; and Allergan Finance. I,LC f/k/a Actavis,

Inc. f/k/a Watson Pharmaceuticals, Inc. Nevertheless, they consent to removal. The Defendants

listed in this paragraph expressly reserve, and do not waive, all defenses related to service of

process and personal jurisdiction.




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       65.     The Employee Defendants, Distributor Defendants, and Dealer Defendants are not

properly joined in this action, and thus their consent to removal is not required.

       66.     By   riling this Notice of Removal, neither Endo nor any other Defendant waive any
defense that may be available to them and reserve all such defenses. If any question arises as to

the propriety of the removal to this Court, Endo requests the opportunity to present a brief and oral

argument in support of its position that this case has been properly removed.




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                                         CONCLUSION

       W I IEREFORE, Endo hereby removes this action from the Court of Common Pleas,

Thirteenth Judicial Circuit, in the County of Greenville, South Carolina to the United States

District Court for the District of South Carolina.




DATED: April 20, 2018                           /Is,/ Brent B. Young
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                                                vice admission




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                                  WRITTEN CONSENT OF OTHER
                                  DEFENDANTS

                                  Consent to removal on behalf of Defendants
                                  PURDUE PI IARMA L.P., PURDUE PI IARMA
                                  I NC., and THE PURDUE FREDERICK
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                                 (312)407-0700
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                                 vice admission

                                 Consent to removal on behalf of Defendants
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                                 CEPHALON, INC., WATSON
                                 LABORATORIES,INC., ACTAVIS LLC, and
                                 ACTAVIS PHARMA, INC. F/K/A WATSON
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                                  Consent to removal on behalf of Defendants
                                  JOHNSON & JOHNSON, JANSSEN
                                  PHARMACEUTICALS, INC.,
                                  ORTIIO-MCNEIL-JANSSEN
                                  PI IARMACEUTICALS, INC. N/K/A JANSSEN
                                  PHARMACEUTICALS, INC., and JANSSEN
                                  PHARMACEUTICA, INC. N/KIA JANSSEN
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                                 Consent to removal on behalf of Defendants
                                 ALLERGAN PLC (F/K/A ACTAVIS PLC) and
                                 ALLERGAN FINANCE, LLC (F/K/A ACTAVIS,
                                 I NC. F/K/A WATSON PI IARMACEUTICALS,
                                 I NC.):

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                                 Consent to removal on behalf of Defendant
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing is being served upon the

following by regular United States mail, postage prepaid:

Smith Drug Company            Rite Aid of South Carolina, Inc.     Wendy Kay
c/o Registered Agent          c/o Registered Agent                 1 65 F. Farrell Drive F.
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2 Office Park Court           2 Office Park Court
Suite 103                     Suite 103
Columbia, SC 29223            Columbia, SC 29223

Wal-Mart Stores East, LP      Michael Madden                      McKesson Corporation
c/o Registered Agent          9 Bobcat Trail                      c/o Registered Agent
CT Corporation System         Simpsonville, SC 29681              Corporation Service Company
2 Office Park Court                                               1 703 Laurel Street
Suite 103                                                         Columbia, SC 29201
Columbia, SC 29223

Jeffrey Ward                  CVS Pharmacy, Inc.                  A mersourcebergen Corporation
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Duncan, SC 29334              CT Corporation System               CT Corporation System
                              2 Office Park Court                 2 Office Park Court
                              Suite 103                           Suite 103
                              Columbia, SC 29223                  Columbia, SC 29723

Janssen Pharmaceuticals, Inc. Cardinal Health, Inc.               Actavis Pharma, Inc.
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Dated: April 20, 2018

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